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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN

LETICIA RUDOLPH,

       Plaintiff,

v.                                                          CASE NO: 1:17-cv-125
                                                            HON. JANET T. NEFF
DANIEL T. BABINEC, ROBERT A. ATKINSON,
in their individual and official capacities,
and the TOWNSHIP OF FRUITPORT,

       Defendants.

 CHRISTOPHER TRAINOR & ASSOCIATES                    MCGRAW MORRIS, P.C.
 CHRISTOPHER J. TRAINOR (P42449)                     G. GUS MORRIS (P32960)
 AMY J. DEROUIN (P70514)                             CHRISTOPHER J. RAITI (P68600)
 Attorneys for Plaintiff                             AMANDA MARIE ZDARSKY (P81443)
 9750 Highland Road                                  Attorneys for Defendants
 White Lake, MI 48386                                2075 W. Big Beaver Road, Ste. 750
 (248) 886-8650                                      Troy, MI 48084
 (248) 698-3321-fax                                  248-502-4000
 Amy.derouin@cjtrainor.com                           248-502-4001-fax
                                                     gmorris@mcgrawmorris.com
                                                     craiti@mcgrawmorris.com
                                                     azdarsky@mcgrawmorris.com

                    STIPULATED ORDER FOR STAY OF PROCEEDINGS


       Pending interlocutory appeal filed by the individually named Defendants, DANIEL T.

BABINEC and ROBERT A. ATKINSON, on August 7, 2018 [Dkt. 60), and the parties hereto

being in agreement that this matter should be stayed pending a ruling on said appeal, and the court

being further fully advised;



       IT IS ORDERED that this action be and hereby is stayed until such time as a ruling has

been made on the aforesaid interlocutory appeal.



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       IT IS SO ORDERED.

                                    _________________________________________
                                    HONORABLE JANET T. NEFF



We hereby stipulate to the above Order:

/s/AMY J. DEROUIN (w/permission)
AMY J. DEROUIN (P70514)
Attorney for Plaintiff

/s/G. GUS MORRIS______________
G. GUS MORRIS (P32960)
Attorney for Defendants




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